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 1   RICKEY IVIE (#76864)
 2   rivie@imwlaw.com
     JACK F. ALTURA (#297314)
 3   jaltura@imwlaw.com
 4   IVIE McNEILL WYATT
     PURCELL & DIGGS, APLC
 5   444 South Flower Street, Suite 1800
 6   Los Angeles, California 90071
     Telephone: (213) 489-0028
 7   Facsimile: (213) 489-0552
 8
     Attorneys for Defendant,
 9   LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
10

11                            UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13

14
      JAIME FLORES,                           Case No.:
15

16                  Plaintiff,
      vs.                                     DECLARATION OF JACK F.
17                                            ALTURA IN SUPPORT OF
18    LOS ANGELES COUNTY                      NOTICE OF REMOVAL OF CIVIL
      SHERIFF’S DEPARTMENT,                   ACTION PURSUANT TO 28 U.S.C.
19                                            1441(a) (FEDERAL QUESTION)
      ALEX VILLANUEVA, and DOES
20    1–20, inclusive,
21                                            Action Filed:     November 16 2020
                    Defendants.
22                                            Defendant Served: December 17, 2020
                                              State Case No.:   20STCP02370
23
                          DECLARATION OF JACK F. ALTURA
24
     1.     I am an attorney licensed to practice law in the State of California, and I am
25          admitted to the bar of the United States District Court of the Central District
26          of California. I am an associate at the law firm of Ivie McNeill Wyatt Purcell
27          & Diggs, attorneys for Defendant Los Angeles County Sheriff’s Department
28          in this action.
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     2.    The following declaration is based upon my personal knowledge and if
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           called upon to testify, I could and would competently testify to the facts set
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           forth as follows.
 4   3.    Attached as Exhibit 1 is a true and correct copy of Plaintiff’s summons and
 5         complaint served on the County of Los Angeles on December 17, 2020.
 6   4.    Defendant Los Angeles County Sheriff’s Department consents to removal of
 7         this case. To my knowledge, no other Defendant has been served with the
 8         Complaint.
 9   5.    On information and belief, Defendant Los Angeles County Sheriff’s
10         Department was served with the Complaint on December 17, 2020. The
11         Notice of Removal is filed with this Court within 30 days after service.
12   6.    The Notice of Removal is being filed with the state court in which this

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           action was originally filed.
     7.    Plaintiff is being served with this notice of removal.
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     8.    On December 28, 2020, I emailed a letter to Plaintiff’s counsel, Jaime G.
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           Monteclaro, stating that the Complaint appears to allege a claim for
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           excessive force under 42 U.S.C. § 1983 and requesting that Mr. Monteclaro
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           call me to discuss.
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     9.    On or about the same date, I left a voicemail at Mr. Monteclaro’s office
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           number requesting a call back.
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     10.   As of the filing of this Notice of Removal, I have not received a call back
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           from Mr. Monteclaro.
22   11.   Therefore, in order to preserve Defendant’s right to remove this case to
23         federal court within the statutory time period, Defendants are filing this
24         Notice of Removal.
25   ///
26   ///
27   ///
28   ///
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 1
           I declare under penalty of perjury of the laws of the State of California that
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     the foregoing is true and correct. Executed on January 6, 2021 at Los Angeles,
 3
     California.
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 5                                   /s/ Jack F. Altura
                                        Jack F. Altura
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         EXHIBIT 1
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